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2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     WILLIAM BOHAC
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,       )      No. CR-S 11-323 JAM
12                                   )
                    Plaintiff,       )
13                                   )      STIPULATION AND ORDER RESETTING
          v.                         )      BRIEFING SCHEDULE AND J&S
14                                   )
     WILLIAM BOHAC,                  )      Date: August 20, 2013
15                  Defendant        )      Time: 9:45 a.m.
                                     )      Judge: Hon. Mendez
16   _______________________________ )
                                     )
17
          IT IS HEREBY STIPULATED by and between Assistant United States
18
     Attorney JARED DOLAN, Counsel for Plaintiff, and Attorney Dina L.
19
     Santos, Counsel for Defendant WILLIAM BOHAC; that current date
20
     scheduled for June 18, 2013, be vacated and the matter be continued to
21
     this Court's criminal calendar on August 20, 2013, at 9:45 a.m, for
22
     judgement and sentencing.
23
          It is further stipulated that the briefing schedule be reset as
24
     follows:
25
          Judgement and Sentencing Date:                August 20, 2013
26
          Reply or statement of No Opposition           August 13, 2013
27
          Formal Objections                             August 6, 2013
28
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1          Informal Objections                           July 30, 2013
2          Proposed Pre-Sentence Report                  July 16, 2013
3
4          The Court is advised that all counsel have conferred about this
5    request, that they have agreed to the August 20, 2013 date, and that
6    Mr. Dolan has authorized Ms. Santos to sign this stipulation on his
7    behalf.
8          IT IS SO STIPULATED.
9
10   Dated: June 14, 2013                     /S/ Dina L. Santos
                                             DINA L. SANTOS
11                                           Attorney for Defendant
                                             Jared Dolan
12
13
14
     Dated: June 14, 2013                    /S/ Jared Dolan
15                                           JARED DOLAN
                                             Assistant United States Attorney
16                                           Attorney for Plaintiff
17
                                         O R D E R
18
           IT IS SO ORDERED.
19
                       By the Court,
20
21
     Dated: June 14, 2013                    /s/ John A. Mendez
22                                           Hon. John A. Mendez
                                             United States District Court Judge
23
24
25
26
27
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     Stipulation and Order                    2
